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Proposed Counsel to the Debtor
and Debtor-in-Possession

                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 In re:                                   §
                                          §   Case No. 21-31488-sgj11
                                          §
 WATTSTOCK, LLC,                          §   Chapter 11
                                          §
                                          §   Subchapter V
          Debtor.                         §
                                          §
               DEBTOR’S EMERGENCY MOTION FOR ENTRY OF ORDER
                 AUTHORIZING DEBTOR TO PAY CRITICAL VENDOR
To the Honorable Stacey G.C. Jernigan, U.S. Bankruptcy Judge:

          WattStock, LLC (the “Debtor”), the debtor and debtor-in-possession in the

above-styled bankruptcy case (the “Bankruptcy Case”), files this its Emergency

Motion for Entry of Order Authorizing Debtor to Pay Critical Vendor (the “Motion”),

and in support thereof would respectfully show the Court as follows:

                            I.   JURISDICTION & VENUE

          1.     The Court has jurisdiction of the Bankruptcy Case and this Motion

under 28 U.S.C. § 1334. This Motion constitutes a core proceeding under 28 U.S.C. §

157(b)(2). Venue is proper under 28 U.S.C. §§ 1408 & 1409. The Debtor is in

possession of the estate as debtor-in-possession under 11 U.S.C. §§ 1107 & 1108.


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                                  II.     BACKGROUND

      2.     On August 17, 2021 (the “Petition Date”), the Debtor filed its voluntary

petition for relief under chapter 11 subchapter V of title 11 of the United States Code

(the “Bankruptcy Code”), thereby initiating the Bankruptcy Case and creating the

bankruptcy estates (the “Estate”). Background regarding the Debtor’s business and

the circumstances leading to the bankruptcy filing is set forth in the Declaration of

Andrew F. Herr (the “Herr Declaration”), filed contemporaneously herewith and

incorporated herein for all purposes.

                           III.         RELIEF REQUESTED

      3.     By this Motion, pursuant to sections 105(a) and 363(b) of the

Bankruptcy Code and Bankruptcy Rules 6003 and 6004, the Debtor requests

authority to pay one critical vendor. A proposed interim and final order granting the

relief requested herein is attached hereto as Exhibit “A” (the “Proposed Order”).

      4.     The critical vendor is Thomassen Service Middle East LLC (“TSME”).

TSME is a subcontractor providing vital services in connection with a management

project in Abu Dubai with a potential value to the Debtor of $1.6 million. A failure to

make the payment would jeopardize the Debtor’s potential revenue from the project

and would likely have collateral effects on the Debtor’s reputation and ability to work

with similar subcontractors.

      5.     On or about July 27, 2021, the Debtor initiated a $50,000.25 wire

transfer to TMSE in the ordinary course of business; however, due to an incorrect

account number supplied by TMSE, the wire transfer failed and the money was




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recently returned to the Debtor’s account. Accordingly, the Debtor desires to re-

initiate the wire transfer as soon as possible.

      6.     Critically, the funds in question were provided to the Debtor pursuant

to a broader project agreement with GE – accordingly, the funds are arguably held in

trust by the Debtor and are not Estate property. The Debtor filed the Motion out of

an abundance of caution.

      7.     TMSE is providing services in Abu Dubai and, quite literally, no

replacement vendor exists. The success of the project depends on payment to TMSE.

      8.     The Court may authorize a debtor to pay certain prepetition obligations

pursuant to section 363(b) of the Bankruptcy Code. 11 U.S.C. § 363(b)(1). Section

363(b) provides, in pertinent part, that “[t]he trustee, after notice and a hearing, may

use, sell, or lease, other than in the ordinary course of business, property of the

estate.” A debtor’s request to use property of the estate outside of the ordinary course

of business pursuant to section 363(b) of the Bankruptcy Code is appropriate upon a

finding that such use is supported by sound business reasons. See, e.g., In re BNP

Petroleum Corp., 642 F. App’x 429, 435 (5th Cir. 2016); In re Cont’l Air Lines, 780

F.2d 1223, 1226 (5th Cir. 1986). Section 1107(a) of the Bankruptcy Code “contains

an implied duty of the debtor-in-possession” to “protect and preserve the estate,

including an operating business’ going concern value,” on behalf of the debtor’s

creditors and other parties in interest, and payment of critical vendors is likewise

routinely authorized under section 105(a). See In re CEI Roofing, Inc., 315 B.R. 50,




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59 (Bankr. N.D. Tex. 2004). See also In re CoServ, L.L.C., 273 B.R. 487, 497 (Bankr.

N.D. Tex. 2002).

      9.     As described above, payment to TMSE is necessary for the Debtor to

maintain operations and consequently preserve the value of their business. The relief

requested is a sound exercise of the Debtor’s business judgment, is necessary to avoid

immediate and irreparable harm to the Debtor’s estate, and is justified under sections

105(a) and 363(b) of the Bankruptcy Code.

      10.    The Debtor further requests that the Court waive the 14-day period

under Bankruptcy Rule 6004(h).

                                   IV.    PRAYER

      WHEREFORE, the Debtor respectfully requests that the Court enter an order

substantially in the form attached hereto (i) granting this Motion; (ii) authorizing the

payment set forth in the Motion; and (iii) granting the Debtor such other and further

relief to which they may show themselves justly entitled.




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Dated: August 23, 2021.                Respectfully submitted,

                                       MUNSCH HARDT KOPF & HARR, P.C.

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                                       Proposed Counsel for the Debtor
                                       and Debtor-in-Possession


                              Certificate of Service

       The undersigned hereby certifies that, on this the 23rd day of August, true and
correct copies of the foregoing document were served via the Court’s ECF notification
system on the parties entitled to notice thereby and via US Mail First Class postage
pre-paid on the parties on the attached service list.

                                              By: /s/ Thomas Berghman
                                                    Thomas D. Berghman, Esq.




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